
669 N.W.2d 118 (2003)
2003 ND 152
In the Matter of the Application for DISCIPLINARY ACTION AGAINST Charles T. EDIN, a Member of the Bar of the State of North Dakota.
Disciplinary Board of the Supreme Court of the State of North Dakota, Petitioner,
v.
Charles T. Edin, Respondent.
No. 20030272.
Supreme Court of North Dakota.
September 24, 2003.

INTERIM SUSPENSION ORDERED
PER CURIAM.
[¶ 1] On September 18, 2003, an Application for Order of Interim Suspension of Charles T. Edin, a member of the Bar of North Dakota, was filed under N.D.R. Lawyer Discipl. 3.4. Edin was admitted to practice in the courts of North Dakota on April 16, 1984, and is currently licensed to practice law.
[¶ 2] The Application asserts that Charles T. Edin has closed his office at 418 E. Rosser Ave., Ste. 102, Bismarck, N.D. and that his telephone number is no longer in service. The Application is supported by statements from two of Edin's clients who have been unable to contact him.
[¶ 3] Disciplinary Counsel asserts that the information provided is sufficient evidence to demonstrate that Edin has violated *119 N.D.R. Prof. Conduct 1.3 (Diligence), and 1.4 (Communication), and that under N.D.Std.Imposing Lawyer Sanctions 4.41(a), disbarment is generally appropriate when a lawyer abandons the practice and causes serious or potentially serious injury to a client.
[¶ 4] By letter dated September 19, 2003, the Court requested a Response to the Application from Edin no later than noon, Tuesday, September 23, 2003. The letter was served on Edin at his last known business address, 418 East Rosser Ave., Ste. 102, P.O. Box 2391, Bismarck, ND 58502, and at his last known residential address, 1244 East Highland Acres Road, Bismarck, ND 58501. Edin did not file a Response to the Application. The Court considered the matter, and
[¶ 5] ORDERED, under N.D.R. Lawyer Discipl 3.4(B) Charles T. Edin's license to practice law in North Dakota is SUSPENDED effective immediately and until further order of this Court.
[¶ 6] FURTHER ORDERED, that Disciplinary Counsel promptly apply to the district court for a professional trustee as provided in N.D.R. Lawyer Discipl. 6.4.
[¶ 7] FURTHER ORDERED, that Charles T. Edin comply with N.D.R. Lawyer Discipl. 6.3.
[¶ 8] GERALD W. VANDE WALLE, C.J., CAROL RONNING KAPSNER, MARY MUEHLEN MARING, WILLIAM A. NEUMANN and DALE V. SANDSTROM, JJ., concur.
